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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN


LIBERTY MUTUAL FIRE INSURANCE
COMPANY; LM GENERAL INSURANCE                    C.A. No. 20-cv-12748-LVP-DRG
COMPANY; LM INSURANCE
CORPORATION; and SAFECO
INSURANCE COMPANY OF ILLINOIS,

                          Plaintiffs,

v.

VAN DYKE SPINAL
REHABILITATION CENTER PLLC;
NEW GRACE SPINAL
REHABILITATION CENTER, PLLC;
PRODIGY SPINAL
REHABILITATION, PLLC; MICHAEL
MEERON, D.C.; ANTHONY PULICE,
D.C.; and SUMMER FAKHOURI, D.C.,

                          Defendants.


                       STIPULATION OF DISMISSAL

      Pursuant to Fed. R. Civ. P. 41(a)(1), it is hereby stipulated and agreed by and

between plaintiffs Liberty Mutual Fire Insurance Company, LM General Insurance

Company, LM Insurance Corporation, and Safeco Insurance Company of Illinois

(collectively, “Liberty Mutual”) and defendants Van Dyke Spinal Rehabilitation

Center PLLC (“Van Dyke”), New Grace Spinal Rehabilitation Center, PLLC (“New

Grace”), Prodigy Spinal Rehabilitation, PLLC (“Prodigy”), Michael Meeron, D.C,

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(“Meeron”), Anthony Pulice, D.C. (“Pulice”), and Summer Fakhouri, D.C.

(“Fakhouri”), by and through their undersigned counsel, that Liberty Mutual’s

Complaint (ECF No. 1) be dismissed with prejudice as to Van Dyke, New Grace,

Prodigy, Meeron, Pulice, and Fakhouri without costs or fees of any kind to any party.

It is hereby agreed by the parties that this Court shall retain jurisdiction to enforce

the terms of settlement reached between the parties.

                         [SIGNATURE PAGE FOLLOWS]




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   STIPULATED AND AGREED TO THIS 29th DAY OF JANUARY, 2021:

Liberty Mutual Fire Insurance            Van Dyke Spinal Rehabilitation Center
Company, LM General Insurance            PLLC, New Grace Spinal
Company, LM Insurance Corporation,       Rehabilitation Center, PLLC, Prodigy
and SAFECO Insurance Company of          Spinal Rehabilitation, PLLC, Michael
Illinois,                                Meeron, D.C., Anthony Pulice, D.C.,
                                         and Summer Fakhouri, D.C.,

By their Attorneys,                      By their Attorneys,

/s/ Jacquelyn A. McEttrick               /s/ Peter W. Joelson
_____________________                    _______________________
Nathan A. Tilden (P76969)                Peter W. Joelson (P51468)
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38777 Six Mile Road, Suite 314           Farmington Hills, MI 48334
Livonia, MI 48152                        (248) 626-9966
(734) 521-9000
                                         Gary R. Blumberg (P29820)
350 Granite Street, Suite 2204           grblumberg@blumbergpc.com
Braintree, MA 02184                      LAW OFFICES OF
(617) 770-2214                           GARY. R. BLUMBERG, PC
                                         15011 Michigan Ave.
                                         Dearborn, MI 48126
                                         (313) 230-1121




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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN


LIBERTY MUTUAL FIRE INSURANCE
COMPANY; LM GENERAL INSURANCE                   C.A. No. 20-cv-12748-LVP-DRG
COMPANY; LM INSURANCE
CORPORATION; and SAFECO
INSURANCE COMPANY OF ILLINOIS,

                          Plaintiffs,

v.

VAN DYKE SPINAL
REHABILITATION CENTER PLLC;
NEW GRACE SPINAL
REHABILITATION CENTER, PLLC;
PRODIGY SPINAL
REHABILITATION, PLLC; MICHAEL
MEERON, D.C.; ANTHONY PULICE,
D.C.; and SUMMER FAKHOURI, D.C.,

                          Defendants.


                            ORDER OF DISMISSAL

      This matter having come before the Court upon stipulation of the parties, and

the Court being otherwise fully advised in the premises:

      IT IS ORDERED that plaintiffs’ causes of action against defendants Van

Dyke Spinal Rehabilitation Center PLLC, New Grace Spinal Rehabilitation Center,

PLLC, Prodigy Spinal Rehabilitation, PLLC, Michael Meeron, D.C, Anthony

Pulice, D.C., and Summer Fakhouri, D.C. are hereby dismissed with prejudice and

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without costs to any party. The Court shall retain jurisdiction over this matter to

enforce the terms of settlement reached between the parties.

      IT IS SO ORDERED.

                                              s/ Linda V. Parker
                                              LINDA V. PARKER
                                              U.S. DISTRICT JUDGE


 Dated: January 29, 2021




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